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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                   CIVIL MINUTES - GENERAL

  Case No. 2:21−cv−06098−MCS−SK                        Date      November 2, 2021

  Title         JAMIL GULMANN SHIHAB V. TRILLER, INC. ET AL




  Present:         The Honorable      Mark C. Scarsi , U. S. District Judge
                Stephen Montes Kerr                            Not Reported;
                    Deputy Clerk                           Court Reporter/Recorder

      Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
                None Present                                    None Present


 Proceedings:       (IN CHAMBERS) ORDER TO SHOW CAUSE RE: DISMISSAL
                     FOR LACK OF PROSECUTION

         Plaintiff is ordered to show cause, in writing, no later than November 9, 2021, why
   this action should not be dismissed for lack of prosecution. The Court will consider the
   filing of the following on or before the above date as an appropriate response to this
   Order to Show Cause:


          Proof of service of summons and complaint

    X Response to the complaint by the defendant or an application for entry of default
      pursuant to Federal Rule of Civil Procedure 55(a)

          Application for entry of default judgment pursuant to Federal Rule of Civil
          Procedure 55(b)


         No oral argument on this matter will be heard unless otherwise ordered by the
   Court. See Fed. R. Civ. P. 78; Local Rule 7-15. The Order will stand submitted upon
   the filing of the response to the Order to Show Cause. Failure to respond to the Order to
   Show Cause will result in the dismissal of this action.

          IT IS SO ORDERED.

                                                                   Initials of Clerk: smo


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